Case 4:19-cv-00414-A | Docum

  

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IN THE UNITED STATES DISTRICT COURT _ctegk of pistaicT co
FOR THE NORTHERN DISTRICT OF TEXAS HORE Oat ae
FORT WORTH DIVISION FHLED

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American Airlines, Inc.,

Plaintiff,
v.
Transport Workers Union of Civil Action No. 4:19-CV-00414-A
America, AFL-CIO, International
Association of Machinists and
Aerospace Workers, and Airline
Mechanic and Related Employee
Association TWU/IAM,

Defendants.

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DEFENDANTS’ UPDATE TO THE COMPLIANCE DECLARATIONS AND EXHIBITS
FILED ON JULY 16,2019 AS ECF NO. 117 AND ON JULY 19, 2019 AS ECF NO. 118

Pursuant to this Court’s July 10, 2019 Order (ECF No. 111) Defendants Transport
Workers Union of America, AFL-CIO (“TWU”), International Association of Machinists and
Aerospace Workers (“IAM”), and Airline Mechanic and Related Employee Association
TWU/TAM (“Association”) (collectively, “Defendants”) respectfully file the following sworn
declarations of Timothy Klima and Gary Peterson updating the Court on the further steps taken
toward compliance with the July 10 Order subsequent to the July 16, 2019 declarations of Sito
Pantoja and Gary Peterson filed as ECF document number 117 and the notice of meeting

attendees filed by TWU on July 18, 2019 as ECF document number 118.

Tab DESCRIPTION

A. DECLARATION OF TIMOTHY KLIMA

Exh. | Sign-in sheets from in-person meetings with mechanics and
union leaders

Exh.2 — Screenshot of posted videos from the Association
Case 4:19-cv-00414-A ._Document 121 Filed 07/22/19 Page2of80 PagelD 2753

\ a

Exh.3 TRO Modification Notice emailed to District Lodge 142
email recipients

B. DECLARATION OF GARY PETERSON

Exh. 1 List of aircraft mechanics in attendance at the in-person
meetings conducted from July 16-19, 2019

 

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Dated: July vr, 2019 Respectfully Submitted,
Sel§eR Ov
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Mechanic and Related Employee Association
TWUAM
Case 4:19-cv-00414-A Document 121 Filed 07/22/19 Page 3of80 PagelD 2754

CERTIFICATE OF SERVICE
no .
I certify that on this AP» day of July, 2019 a true and correct copy of the foregoing
document was served on counsel for all parties of record listed below by a means permitted by

Rule 5(b)(2) of the Federal Rules of Civil Procedure (“F.R.C.P.”).

SANFORD R. DENISON
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TAB A.

DECLARATION OF
TIMOTHY KLIMA
Case 4:19-cv-00414-A Document 121 Filed 07/22/19 Page5of80 PagelD 2756

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

 

American Airlines, Inc.,
Plaintiff,

v. Civil Action No. 4:19-CV-00414-A

America, AFL-CIO, International
Association of Machinists and
Aerospace Workers, and Airline
Mechanic and Related Employee
Association TWU/IAM,

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Transport Workers Union of )
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Defendants. )
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DECLARATION OF TIMOTHY KLIMA
Timothy Klima hereby declares, pursuant to 28 U.S.C. § 1746, as follows:

1. Tam an adult resident of the State of Washington. | am employed by the International
Association of Machinists and Aerospace Workers, AFL-CIO (“IAM”), where I currently serve
as Airline Coordinator for [AM’s Transportation Department. My responsibilities include
oversight of the collective bargaining activities conducted by our intermediate level District
Lodges and their affiliated locals. I report to [AM General Vice President Sito Pantoja and his
Chief of Staff. I am assigned the negotiations between the Airline Mechanic and Related
Employee Association TWU/IAM (the “Association”) and American Airlines. I make this
Declaration based on my personal knowledge and the records of IAM and the Association.

2. I submit this Declaration pursuant to the Court’s Order of July 10, 2019 (ECF No.

111) to update the Court on steps taken by IAM and the Association toward compliance with the
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requirements of that Order since July 16, 2019, the date that Mr. Pantoja signed his first
declaration. (ECF No. 117, Tab A).
In-Person Group Meetings — Mechanics (July 10 Order Paragraph (a)).

3. IAM completed all of the in-person group meetings with the RON (overnight) shift
mechanics for locations at which LAM is the designated representative and were described in Mr.
Pantoja’s Declaration.

In-Person Group Meetings — Union Officials (July 10 Order paragraph (b)).

4, As required by Paragraph (b) of the July 10 Order, IAM has continued to hold in-
person group meetings with IAM union officials, including: (1) Local Leadership, (2) Local e-
board members, (3) shop stewards, and (4) grievance committee members at all stations where
those meetings had not been completed by the time Mr. Pantoja’s Declaration was filed.

5. Senior IAM representative speakers at these in-person meetings were directed to, and
have reported that they did, convey the information set forth in paragraph 5 to Mr. Pantoja’s
Declaration. (ECF No. 117, Tab A at 3-4, 4 5).

6. It has also been reported to me that American Airlines’ management was allowed to
attend each of these in-person meetings and, attended many, although not all, of them.

7. The chart below updates the information set forth in Mr. Pantoja’s Declaration to
show the current status of these meetings. All have been completed except for one, which is

scheduled to be held in Seattle on July 22, 2019.

 

 

 

 

 

 

 

Station Senior IAM Representative Date
Conducting Meeting
ATL 2665 Tom Regan 07/12/19 and 07/18/19
BOS 1726 John Werkmeister 07/15/19 and 07/16/19
CLT 1725 Tom Regan O7/17/19

 

 
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Station Senior IAM Representative Date
Conducting Meeting
DCA 1759 Sito Pantoja and Joseph 07/12/19 and 07/15/19
Tiberi
DFW 2909 David Supplee 07/16/19
FLL 368 David Supplee 07/18/19
LAS 845 Sandra Gardner O7T/16/19
LAX 1932 Kris Hannah 7/16/19
LGA 1322 John Werkmeister O7/1S/19
MCO 2508 Tom Regan 07/16/19
ORD 1487 Kris Hannah 07/18/19
PHL 1776 David Supplee 07/12/19 and 07/17/19
PHX 2559 John Werkmeister O7/12/19
PIT 1976 John Werkmeister O7F/17/19
SEA 2202 Kris Hannah Scheduled for 07/22/19
SFO 1781 Kris Hannah O7/17/19
TPA 2319 Tom Regan O7/1S/19
8. Sign in sheets from these meetings are attached as Exhibit 1, Employee numbers have
been redacted from these sheets.
Phone Calls (July 10 Order Paragraph (c)).
9. Paragraph (c) of the July 10 Order requires senior [AM leaders to make phone calls to

IAM members who did not attend the in-person meetings described above. LAM and the

Association are in the process of determining who those members are and how to contact them

telephonically. I understand that counsel for American Airlines has committed to work with [AM
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to make phone numbers available: once the phone numbers are available, [AM and the
Association will make the required calls,

10. Paragraph (c) of the July 10 Order requires senior IAM leaders to make phone calls to
IAM officials who were unable to attend the in-person meetings described above. [AM does
have phone numbers for these individuals, and most, although not all, of those phone calls have
now been made.

Posting Orders on Dedicated Webpage and Bulletin Boards (July 10 Order Paragraph (d)).

11. The TRO and the July 10 Order remain posted to dedicated webpages connected to
the Association website as well as the [AM District Lodge 142 website, separate from all other
union correspondence and, to my understanding, on dedicated bulletin boards or, where only one
bulletin board exists, on a dedicated and unobstructed space on the bulletin board.

Posting of Video (July 10 Order Paragraph (e)).

12. On July 18, 2019, the Association posted videos of John Samuelsen and Alex Garcia
on the dedicated Association webpage containing the message required by Paragraph (e) of the
July 10 Order, alongside the video from Sito Pantoja. Exhibit 2 shows screenshots of those
postings,

Acknowledgement Forms (July 10 Order Paragraph (f)).

13. Paragraph (f) of the July 10 Order requires that “Each of Defendants’ members shall
sign and date an acknowledgement form stating that they have read and understand their
obligation to comply with the modified Temporary Restraining Order upon risk of being
disciplined or fined by Defendants and American.”

14. T understand that following the Court’s July 16 Order (ECF No. 116), counsel has

requested that American allow the Union Defendants access, either directly or through a vendor,
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to use the work email addresses of mechanics to immediately distribute the required
acknowledgment forms. As of this date, American has not agreed to that request. Accordingly,
IAM and the Association intend, among other steps, to have union representatives meet with
employees at their respective stations and provide them with acknowledgment forms for
signature. We plan to begin these meetings the week of July 22, 2019.

15, Issuance of Notice (July 10 Order Paragraph (g)).

16. The Notice required by Paragraph (g) of the July 10 Order remains posted on the
Association website and [AM District Lodge 142 website.

17. Further, on July 16, 2019, District Lodge 142 sent the Notice via email to the
members who signed up for emails. Exhibit 3 shows how recipients received that email.

Overnight Productivity Levels (July 10 Order Paragraph (h)).

18. JAM and the Association are complying with this section through the actions
described in the above paragraphs, and Mr. Pantoja’s Declaration. It has been reported to me that
IAM representatives continued to directly ask American’s local management following in-person
meetings whether there are particular issues at their stations that IAM and the Association could
address. To my knowledge, American’s local management have not provided information in

response to these inquiries.
Case 4:19-cv-00414-A Document 121 Filed 07/22/19 Page10o0f80 PagelD 2761

I declare under penaity of perjury that the foregoing is true and correct, Executed on this

(VP aay of July 2019.
Lith I V0

Timothy Klimi
Case 4:19-cv-00414-A Documen t121 Filed 07/22/19 Page11of80 PagelD 2762

DECLARATION OF
TIMOTHY KLIMA

Exhibit 1 —
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Affiliated with the AFL-CIO Local 1776 PHORE 610-521-4888
State Machinists Council FAX S1GS210976
$51 JANSEN AVENUE
ESSINGTON PA 19089

 

 

Rich Howell President

 

Riek Mann S/T

 

 

Dennis Spencer’ Trustee

Bill Zebley Trustee.

 

Shadek Lacy R/S

 

 

PHL E~BOARD MEETING
AA TRO
JULY 12th 2019
  
  
 
 

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PHL Stewards & Committee ~ AA Modified TRO Mtg ~ July 17, 2019
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DECLARATION OF
TIMOTHY KLIMA

Exhibit 2
Case 4:19-cv-00414-A Document 121 Filed 07/22/19 Page 35of80 PagelD 2786

Association Videos:

 

        
    
         
   
   

TWHU-IAM Association

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DECLARATION OF
TIMOTHY KLIMA

Exhibit 3
Case 4:19-cv-00414-A . Document 121 Filed 07/22/19 Page 37 of80 PagelD 2788

 

 

From: Air Transport District 142 <david@iamdl142.ccsend.com> On Behalf Of Air Transport District 142

Sent: Tuesday, July 16, 2019 5:14 PM
To: Klima Timothy <tkhlima@iamaw,org>
Subject: Required Notice to Members - TRO Compliance

 
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This notice for for all mechanic and related members at American
Airlines:

On July 10, 2019, the U.S. District Court for the Northern District of Texas issued
an Order modifying the terms of the existing Temporary Restraining Order. The
following statement from the Association's most senior Union leaders, including Sito
Pantoja, Alex Garcia, and John Samuelsen, is made pursuant to that July 10 Order:

Despite the Temporary Restraining (TRO) issued by the United States District Court
for the Northern District of Texas on June 14, 2019, the disruption from the status quo
- as measured by AOS at 0700, high daily open MELs, and low nightly
accomplishment yields - has continued, and even worsened,

We therefore notify you, in no uncertain terms, that:

Any actions by mechanic and related employees that are designed or intended to harm
or slow down American's operations is a violation of the Court's TRO and the Railway
Labor Act.

You MUST resume normal working schedules and practices.

You MUST NOT engage in any concerted refusal to perform normal operations.

Any individual employee represented by the Association who is found to have:

* Refused to accept overtime or field trip requests as they would in the normal course;
* Failed to complete maintenance repairs as they would in the normal course;

* Slowed down in the performance of their job duties; or

* Taken any other action intended to cause aircraft to be out of service outside of the
normal course (includingspecificall y aircraft out of service at 7:00 a.m.) or otherwise

 
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cause flight delays or cancellations or interfere with American's operations;

WILL face discipline and fines from the Association, TWU and/orlAM.

Sito Pantoja Alex Garcia John Samuelsen

Click here for Notice

 

Air Transport District 142, 400 NE 32nd St, Kansas City, MO 64116

SafeUnsubscribe™ tkiima@iamaw.org

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and/or confidential information. Use or dissemination by anyone other than the intended
recipient is strictly prohibited.

 
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TAB B.

DECLARATION OF
GARY PETERSON
Case 4:19-cv-00414-A Document 121 Filed 07/22/19 Page 41of80 PagelD 2792

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

 

FORT WORTH DIVISION

)
American Airlines, Inc., }
)
Plaintiff, )
)

Vv. ) Civil Action No, 4:19-CV-00414-A
)
Transport Workers Union of )
America, AFL-CIO, International )
Association of Machinists and )
Aerospace Workers, and Airline )
Mechanic and Related Employee }
Association TWU/IAM, }
)
Defendants. )
)

 

DECLARATION OF GARY PETERSON

Gary Peterson declares pursuant to 28 USC § 1746 as follows:

1. My name is Gary Peterson and I am an adult resident of the State of Texas. I
make this Declaration based on my personal knowledge and on records kept in the normal course
of business by the Transport Workers Union of America, AFL-CIO (“TWU”), the Airline
Mechanic and Related Employee Association TWU/IAM (the “Association”), and Locals
affiliated with the TWU. I currently serve as an International Vice President of the Transport
Workers Union of America, AFL-CIO, and I am a member of the Association’s executive
negotiating committee.

2. I submit this Declaration pursuant to the Court’s Order of July 10, 2019, ECF No.
111. This Declaration describes the steps taken subsequent to execution of my previously filed

Declaration, and those which remain to be accomplished.
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3. Defendants have taken the following steps toward compliance with the
provisions of the Modifications to June 14, 2019 Temporary Restraining Order, issued on July
16, 2019:

In-Person Group Meetings (July 10 Order Paragraph (a)).

a. Meetings with senior TWU leaders pursuant to paragraph a of the
Modified TRO have taken place with aircraft mechanics on the RON shift at the following Line
Maintenance Stations on the dates indicated: TUL (July 16, 2019, TWU International Vice
President Danker present), SAN (July 16, 2019, TWU International Administrative Vice
President Mayes, TWU International Executive Vice President Garcia, and TWU International
Vice President Sutton present), DFW (July 17, 2019, TWU International Vice President Peterson
present), SFO (July 17, 2019, International Administrative Vice President Mayes, International
Executive Vice President Garcia, and TWU International Vice President Andre Sutton present);
DEN (July 18, 2019, TWU International Vice President Peterson present), SEA, (July 18, 2019,
TWU International Vice President Sutton present); BOS (July 19, 2019, TWU International
Administrative Vice President Mayes present).

Meetings by senior TWU leaders pursuant to paragraph a of the Modified TRO are also
scheduled to take place at the remaining Line Maintenance Stations for the RON shifts as
follows:

i. LGA ~ July 22, 2019 at 11:30 p.m.
ii. EWR -— July 23, 2019 at 10:00 p.m.
ii. AUS — July 24, 2019 at 8:30 p.m.
iv. RDU ~ July 24, 2019 at 10:00 p.m.

v. 10C — July 24, 2019 at 2:00 a.m.
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vi. SAT — July 25, 2019 at 7:30 a.m.
vii. LAH — July 25, 2019 at 10:30 p.m.
viii. STL —July 28, 2019 at 10:00 p.m.
ix. ORD ~ July 29, 2019 at 10:00 p.m.
x. SJU—TJuly 30, 2019 at 10:00 pm.
xi, FLL — scheduling in process

A list of those aircraft mechanics who were in attendance at the meetings conducted from
July 16 to July 19, 2019 are attached as composite Exhibit 1. A summary of what TWU leaders
said at the meetings was previously filed with the court.

The July 10 Order allowed American Airlines’ management to attend each of these in-
person meetings, and to my understanding, management did attend these in-person meetings,
which were all held at American Airlines’ facilities.

In-person Group Meetings — Union Officials (July 10 Order paragraph (b)).

b. Since the filing of my last Declaration, group meetings with senior Union
leaders pursuant to paragraph b of the Modified TRO have taken place or are scheduled to take
place at the following locations and approximate times:

i. DFW —July 17, 2019 at 2:30 p.m.
ii. SFO~July 17, 2019 at 6:00 p.m.
iii. LGA -— July 23, 2019 at 7:00 am.
iv. ORD - July 29, 2019 at 1:00 p.m.
v. MIA-— Aug 1, 2019 at 3:00 p.m.
The TWU Union officials who were in attendance at the meeting held at DFW on July

17, 2019: Peterson, Steve Halter, Southwest Region Vice President of TWU Local 591, Mark
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Erler Southwest Region Chairperson of TWU Local 591, Tom Olsen Southwest Region DFW
Station Chairperson of TWU Local 591, Shawn Kelly Southwest Region DFW Title 1 Section
Chairperson of TWU Local 591 and TWU Local 591 Shop Stewards Andy Littel, Andrew
Stankiewics, Johnnie Benyard, Gary Hackett.

The Union officials who were in attendance at the meeting held at SFO on July 17, 2019:
Mayes, West Region SFO Station Chairperson of TWU Local $91 Jim Curcuro, TWU Local 591
Shop Steward Aarron Maddox, IAM Shop Stewards Terrell Thomas and Stanley Nerek.

A summary of what the TWU leaders said at the meetings was previously filed with the
court.

The July 10 Order allowed American Airlines’ management to attend each of these in-
person meetings, and to my understanding, management did attend these in-person meetings,
which were all held at American Airlines’ facilities.

Phone Calls (July 10 Order Paragraph (c)).

c, Once the employees on the RON shifts who were unable to attend the
- meetings held pursuant to paragraph a of the Modified TRO are identified, and American
Airlines provides TWU International with their phone numbers on file, TWU will begin the
process of calling aircraft mechanics as required by paragraph c of the Modified TRO. TWU
Leadership has already started the process of calling Local TWU representatives who were
unable to attend the union-leader meetings, and continues to do so on an on-going basis.

Posting of Video (July 10 Order Paragraph (e)).

d. On July 17, 2019, a video of TWU International President John Samuelsen

communicating the message required by Paragraph e of the July 10 Order was posted or linked

on the same dedicated webpages.
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Acknowledgement Forms (July 10 Order Paragraph (f)).

€. Paragraph (£) of the July 10 Order requires that “Each of Defendants’
members shall sign and date an acknowledgement form stating that they have read and
understand their obligation to comply with the modified Temporary Restraining Order upon risk
of being disciplined or fined by Defendants and American.” The Association represents over
10,000 aircraft mechanic and related employees at American and does not have an efficient
means to either distribute such forms individually to every employee or to ensure that they are
returned. I understand that counsel has requested that American provide access to it email
distribution list of aircraft mechanics so Defendants can distribute such forms and is awaiting
American Airlines’ response. Defendants are also exploring other methods to take this step
unilaterally, including having union representatives meet with in employees at their respective
stations and provide them with acknowledgement forms for signature.

Overnight Productivity Levels (July 10 Order Paragraph (h)).

f. Paragraph (h) of the Modified TRO requires Defendants to “take all
reasonable actions, including but not limited to communications to their members, to ensure that
their members working at American’s line maintenance stations, within seven days of entry of
the modified Temporary Restraining Order, achieve approximately, in the aggregate, on a 7-day
moving average basis, overnight productivity levels equal to the aggregate status quo overnight
productivity levels achieved in the summer of 2018 of 77.5%.” TWU is complying with this
section through the communications and in-person meetings as described and outlined in the

above paragraphs.
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I DECLARE under penalty of perjury under the laws of the United States that the

foregoing statements are true and correct.

Executed this __ day of July, 2019 at Tarrant County, Texas.

Lew (E—

Gary Petéfson
Case 4:19-cv-00414-A Documen t121 Filed 07/22/19 Page 47 of80 PagelD 2798

DECLARATION OF
GARY PETERSON

Exhibit 1
Case 4:19-cv-00414-A Document 121 Filed 07/22/19 Page 48 of 80 PagelD 2799

 

Exhibit 1
Case 4:19-cv-00414-A. Document 121 Filed 07/22/19

AA TRO
TULSA
Meeting Attendance
July 16, 2019

TULSA TERMINAL — 17:55 pm

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Dale Danker ~ President
Joe Brown ~ Executive Board

Bon Knox
Mike Stearns

  

Hangar 80 ~ 11:00 pm

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David Jones —
Sherry Limbird
Kevin Switzer
Patrick Jamison
Brian Cunninham
Tony Willis

Brian Taliman
Gary Nill

Richard Gullfoyle
Steve Terry
Terry Reed

Tom Pearce
Charles Altman
Robert Sams
Jeff Dufault
Dennis DeVries
Wiliam Harlan
James Burmetie
Michael Vicknair
Thomas Kimbrough
Brocks Shepherd
Kent Reading
Randall Mauisby
Peter Root
Barbara Wass
Brian Towers
Luis Miranda
Adrian Wood
David Vensel
Timothy Webster
Randall Engle
Nathan Hopkins
Russeil Carder
Adrian Ward
Thomas Krua
Luis Miranda
Anthony Hofaling

 

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®* 6 © &# 8 #®

Daron Morgan
Brooks Shepherd
Tim Webster
Jerry Reed
Patrick Johnson
Mike Lee

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AA TWU Seniority Lists Page 1 of |

 
  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 4:19-cv-00414-A Document 121 Filed 07/22/19 Page 60 of 80 PagelD 2811

 
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ELLIS, GREGORY EN-GENERAL 12/26/2004 AMT 20:00-06:30
HUIGREGTSE, DIMETRI EN-GENERAL 05/3019 AMT —-20:00-06:30
BEADES. KEVIN EN.GENERAL 03/23/2019 AMT ——20:00-06:30
JACOBS, AARON DEN-GENERAL o402001 AMT  — 20:00-06:30
MELLON, DENNIS DEN-GENERAL oS/ert987 AMT — - 20-00-0630

          

 

 

BUDY, DONALD DEN-GENERA, 2/08/1688 20:00-06:39 _
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S_NIGHTLY MANNING REPORT

 
